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14                              UNITED STATES DISTRICT COURT
15                        SOUTHERN DISTRICT OF CALIFORNIA
16    ROSA ELENA CALVA-GARCIA,                     Case No. '22CV1478 MMA AGS
17                 Plaintiff,
                                                   COMPLAINT FOR DAMAGES
18                 V.

19    CITY OF SAN DIEGO KELLY S.                   DEMAND FOR JURY TRIAL
      STEWART, ANDRES kuii~ TD . MIKE
20    MULLINS, LARRY E. TUKl~ER, CHRIS
      LUTH,
21
                  Defendants.
22
23                                            I.
24                                      INTRODUCTION
25         1.     About two months into the first COVID-19 lockdown throughout the State
26   of California, toward the end of May 2020, Plaintiff Rosa Elena Calva-Garcia began
27   experiencing a mental health crisis.
28         2.     When Plaintiff broke her apartment window and began dropping household
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 1   items onto the sidewalk and street below, San Diego Police Department responded and
 2   proceeded to Plaintiffs apartment to arrest her.          Plaintiff barricaded herself in the
 3   windowless bathroom of her studio apartment.
 4         3.     Less than 20 minutes after officers used a key to open the door to Plaintiffs
 5   apartment, Defendant Andres Ruiz shot Plaintiff three times in the torso, without warning,
 6   even though Plaintiffs hand, which held a kitchen knife, was under the control of
 7   Defendant D. Mike Mullins.
 8         4.     Defendant Mullins then let a police canine bite down on Plaintiffs arm for a
 9   full minute, as Plaintiff lay crippled and moaning in pain.
1o         5.     Plaintiff now sues Defendants for violation of her civil rights and for damages
11   pursuant to 42 U.S.C. § 1983.
12                                                II.
13     JURISDICTION AND COMPLIANCE WITH STATUTE OF LIMITATIONS
14         6.     This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331.
15         7.     Plaintiff has complied with the limitations period applicable to her claims
16   brought under 42 U.S.C. § 1983, which period is governed by state law. Wallace v. Kato,
17   549 U.S. 384, 387 (2007). In California, a two-year statute of limitations applies to§ 1983
18   claims. Jones v. Blanas, 393 F. 3d 918,927 (9th Cir. 2004). This limitations period was
19   tolled from April 6, 2020, through October 1, 2020, pursuant to Emergency Rule 9 of the
20   California Supreme Court's Emergency Rules Related to COVID-19. The incident giving
21   rise to this action occurred on May 23, 2020, and the limitations period was tolled up to,
22   and including, October 1, 2020, meaning the limitations period applicable to Plaintiffs
23   claims did not begin to run until October 2, 2020. Because this action is filed before
24   October 2, 2022, it is timely.
25                                                III.
26                                            PARTIES
27          8.    Plaintiff is and was, at all times relevant to this complaint, a resident of this
28   judicial district. She sues in her individual capacity.
                                                   2
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 1         9.      Defendant City of San Diego ("City") is and was, at all times relevant to this
 2   complaint, a municipal entity duly organized under California law. The San Diego Police
 3   Department ("Department") is the chief law enforcement agency for the City.             The
 4   Department, through its final policymakers, is and was, at all times relevant to this
 5   complaint, responsible for the policies, procedures, practices, and customs of the
 6   Department, as well as for the hiring, training, supervision, discipline, actions, and
 7   inactions of the City's law-enforcement officers and/or employees working for the
 8   Department.
 9         10.     Defendant Stewart was, at all times relevant to this complaint, an individual
1o   acting under the color of state law and working in the course and scope of his employment
11   by the City and Department as a police officer.
12         11.     Defendant Ruiz was, at all times relevant to this complaint, an individual
13   acting under the color of state law and working in the course and scope of his employment
14   by the City and Department as a police officer.
15         12.     Defendant Mullins was, at all times relevant to this complaint, an individual
16   acting under the color of state law and working in the course and scope of his employment
17   by the City and Department as a police officer.
18         13.     Defendant Turner was, at all times relevant to this complaint, an individual
19   acting under the color of state law and working in the course and scope of his employment
20   by the City and Department as a police officer.
21         14.     Defendant Luth was, at all times relevant to this complaint, an individual
22   acting under the color of state law and working in the course and scope of his employment
23   by the City and Department as a police officer.
24         15.     "Defendants" refers collectively to all individual defendants.
25         16.     At all times relevant to this complaint, Defendant Stewart was the supervisor
26   of Defendants Ruiz, Mullins, Turner, and Luth. Defendant Stewart was responsible for
27   reviewing and approving these subordinate officers' plans, actions, and omissions. And
28   Defendant Stewart actively participated (on camera) in each of the decisions, actions, and
                                                   3
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 1   omissions of these subordinate officers, which actions and omissions form the basis of the
 2   claims Plaintiff alleges herein.
 3                                               IV.
 4                                            FACTS
 5   A.    Excessive Force
 6          17.   Plaintiff has a history of mental health issues and, on May 23, 2020, Plaintiff
 7   was experiencing a mental health crisis. At that time, Plaintiff was living in an East
 8   Village studio apartment in a building known to house individuals struggling with mental
 9   health issues.
10          18.   Around 10:00 p.m. that night, Plaintiffbroke a window in her apartment and
11   began dropping household items onto the sidewalk and street below. With the COVID-
12   19 shelter-in-place order in effect, and the late hour, the street was largely empty, and no
13   one was ever injured by anything that came from Plaintiffs window.
14          19.   San Diego Police Department responded to the scene, got a key to Plaintiffs
15   apartment from a building manager, and went up to Plaintiffs apartment to arrest her.
16         20.    Even though officers knew Plaintiff was experiencing a mental-health crisis,
17   officers made no attempt to de-escalate the situation or negotiate with Plaintiff. Officers
18   did not utilize a Psychiatric Emergency Response Team or a hostage negotiator trained to
19   deal with barricaded individuals, or even attempt in good faith to convince Plaintiff
20   officers were there to help her.
21         21.    Instead, without warning, officers used the key to open Plaintiffs door, and
22   Defendant D. Mike Mullins began shouting at Plaintiff to come out, or he would release a
23   canine to find and bite Plaintiff. While he yelled, the canine's bark boomed through the
24   bare-floored building.
25         22.    Plaintiff, largely silent throughout the interaction, had locked herself in the
26   windowless bathroom of her studio apartment.
27         23.    Just fifteen minutes after opening Plaintiffs apartment door, Defendants
28   Kelly S. Stewart and Andres Ruiz, escalated the situation by deciding to use a
                                                  4
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 1   sledgehammer to break a hole in the bathroom door. After Defendant Christ Luth broke
 2   a hole in the door, Defendant Larry E. Turner immediately fired dozens of pepper balls
 3   (that is, plastic rounds filled with a chemical agent designed to incapacitate people).
 4           24.   Just four minutes after that----even though Plaintiff was locked inside a small,
 5   windowless room, not posing an immediate threat to any of the officers present-
 6   Defendants Stewart, Ruiz, Mullins, and Luth escalated the situation further by deciding to
 7   breach the bathroom. After Defendant Mullins attempted, unsuccessfully, to send the
 8   canine through the hole in the bathroom door, Defendant Ruiz kicked open the bathroom
 9   door.
1o           25.   Defendant Mullins entered the bathroom first and immediately took control
11   of Plaintiff, including her right hand, which was holding a kitchen knife, by grabbing
12   Plaintiffs right wrist and pressing it against the bathroom wall. In that position, Plaintiff,
13   who is much smaller than Defendant Mullins, could not move the knife, which was
14   directed toward the ceiling at that point.
15           26.   Then-without any command to drop the knife, without any warning that
16   deadly force would be used, and without any request by Defendant Mullins that deadly
17   force be used- Defendant Ruiz shot Plaintiff three times in the torso. Defendant Ruiz
18   had opened fire less than twenty minutes after officers first opened Plaintiffs apartment
19   door.
20           27.   As Plaintiff fell to the ground, the police canine took hold of Plaintiff, locking
21   its teeth onto her left arm. Even though Plaintiff had been crippled by the gunshot wounds,
22   Defendant Mullins left the canine biting Plaintiffs arm for not just ten, twenty, or thirty
23   seconds, but for a full minute as Plaintiff cried out in pain.
24           28.   Plaintiff miraculously lived through the shooting, albeit with permanent
25   mJunes.
26           29.   Plaintiff was charged with two assault charges and was found incompetent to
27   stand trial. She was, moreover, placed in a mental health diversion program, and her
28   charges will be dismissed upon successful completion of that program.
                                                     5
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 1   B.    Failure to Give Officers Resources Needed to Deal With Mentally Ill People
 2          30.   The use of excessive force on Plaintiff was consistent with, and a result of,
 3   the City and the Department's failure to give officers sufficient resources, including
 4   training, needed to interact with people experiencing a mental health crisis without
 5   violating their constitutional rights.
 6          31.   The City and Department have been aware of this failure since at least 2010
 7   when then police chief William Lansdowne noted an increase in police interaction with
 8   individuals "in deep emotional distress," explaining that "as the state cuts back and the
 9   county cuts back on those [mental health] issues, it's the responsibility of local law
10   enforcement to manage them."
11          32.   In 2017, Mark Marvin, then director of San Diego County's Psychiatric
12   Emergency Response Team explained: "Since 2009 ... these [mental health] calls coming
13   into dispatch of [a] psychiatric nature have increased 92 percent. San Diego Police
14   Department in the last year alone was roughly 110 percent."
15          33.   A study published by the San Diego County District Attorney in 2019 found
16   that over the previous twenty-five years, 80% of officer-involved shootings included
17   people who had drug or mental health issues. In 2018 alone, there were more than 53,000
18   calls for service involving a mental health challenge. Moreover, a study conducted from
19   July to December of 2018 found that San Diego police were twice as likely to use force
20   against people with disabilities during a stop. And in 26 deadly force incidents between
21   2016 and 2018, 23% of these incidents involved individuals with mental health issues.
22          34.   According to the district attorney, "individuals in San Diego County facing
23   mental health issues frequently come in contact with law enforcement and with our
24   criminal justice system . . . . Too often, the outcome falls short of helping people who face
25   those challenges."
26          35.   The City and the Department have, more specifically, been deliberately
27   indifferent to officers' failure to use appropriate and generally accepted law-enforcement
28   procedures for handling persons people experiencing an obvious mental health crisis.
                                                   6
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 1         36.   For example, the California Commission on Peace Officer Standards and
 2   Training ("POST") sets the education and training requirements for California law-
 3   enforcement officers. The minimum, mandated training for entry-level law-enforcement
 4   officers includes Leaming Domain 37. Leaming Domain 37 provides the following
 5   tactical approaches to dealing with someone experiencing a mental health crisis:
 6
                        Calm the      • Take time to assess the situation
                        Situation     • Provide reassurance that officers are there to help
 7
                                      • If possible give the person time to calm down
                                      • Move slowly
 8                                    • When possible, eliminate emergency lights and sirens
                                        and disperse any crowd that may have gathered
 9                                    • Reduce environmental distractions such as radio or
                                        television noise
                                      • Assume a quiet nonthreatening manner when
                                        approaching and conversing with the individual
11                                    • If possible, avoid physical contact if no violence or
                                        destructive acts have taken place
12                                    • If possible, explain intended actions before taking
                                        action
13

14                          Action                     Additional Information

15                      Communicate   •   Keep sentences sh01t
                                      •   Detennine if the person is taking medication
16                                    •   Talk with the individual in an attempt to determine
                                          what is bothering that person
17                                    •   Acknowledge the person' s feelings
                                      •   Ask the person ifhe or she is hearing voices and, if
18                                        so, what they are saying
                                      •   Avoid topics that may agitate the person
19                                    •   Guide the conversation toward subjects that will bring
                                          the individual back to reality (e.g., where are you?,
                                          day of the week?)
20
                                      •   Allow time for the person to consider questions and
                                          be prepared to repeat them
21
                                      •   Do not mock the person or belittle his or her behavior
22                                    •   Do not agree or disagree with the delusions or
                                          hallucinations, but validate the feelings (i.e. "It must
                                          be frustrating for you to feel this way.")
23
                       Do Not Make    •   Do not threaten the individual with airest or in any
24                     Threats            other manner
                                      •   Threats may create additional fright, stress, or
                                          potential aggression
25
                       Be Truthful    •   If the individual becomes awru·e of deception, that
26                                        person may:
                                          - withdraw from any contact in distrust
27                                        - become hypersensitive
                                          - retaliate in anger
28
                                                        7
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 1         37.        Here, the officers failed to provide reassurances that they were there to help;
 2   failed to give Plaintiff time to calm down; failed to move slowly; failed to reduce
 3   environmental distractions/noises; failed to use a quiet and non-threatening manner when
 4   communicating with Plaintiff; failed to explain intended actions before taking them; failed
 5   to talk to Plaintiff to determine what was troubling her; failed to acknowledge Plaintiffs
 6   feelings; failed to ask Plaintiff if she was hearing voices and what they were saying; and
 7   failed to ask questions that might guide Plaintiff back to reality.
 8         38.        Instead, contrary to Leaming Domain 37, officers repeatedly threatened
 9   Plaintiff with a barking police canine and then gassed her with pepper balls before forcing
1o   a confrontation with Plaintiff that resulted in Plaintiff getting shot and mauled by a
11   canine-all within twenty minutes of first opening Plaintiffs apartment door.
12         39.        It was not until a month after this incident that the Department even created
13   its own de-escalation procedure (Procedure 1.55), which provides:
14
          V.     PROCEDURES/REQUIRED ACTIONS
15
                 A.      When given the time and opportunity, before approaching a subject, officers shall
16                       use all available information known at the time of the incident to help assess the
                         situation. This assessment may include, but is not limited to the following:
17
                         1.     Obtaining relevant information regarding the incident.
18
                         2.     Conducting a threat/risk assessment of the incident.
19
                         3.     Considering other available resources and techniques including
20                              specialized units, PERT clinicians, and negotiators to resolve the incident.

21
                 B.      When given the time and opportunity during an encounter, officers shall create
22                       distance by seeking cover and selecting positions that place physical barriers
                         between the officer and the subject, creating a buffer zone. The creation of the
23                       buffer zone helps to reduce situational intensity by decreasing perceived pressure
                         while continuing to control the operational space. Officers can move to a position
24                       that is tactically advantageous or allows greater distance in order to de-escalate a
                         situation or deploy a greater variety of force options, including lesser force or no
25
                         force at all.
26

27         40.        Here, Plaintiff was barricaded inside a windowless bathroom, creating a
28   natural buffer between Plaintiff and the officers. Officers nonetheless failed to use that
                                                            8
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 1   time and opportunity to, for example, consult a clinician and/or negotiator.
 2             41.      The fact that a dozen or more officers, including Defendant Stewart, a
 3   supervisor, were on scene during this incident, and not a single officer objected to the
 4   rapid and unnecessary escalation of a confrontation with an individual experiencing an
 5   obvious mental health crisis, demonstrates a serious lack of training regarding generally
 6   accepted-law enforcement procedures for handling people experiencing a mental health
 7   CflSlS.

 8             42.      As further examples of the City's and the Department's deliberate
 9   indifference to officers' training and supervision needs when it comes to interacting with
10   mentally ill individuals:
11                   a. In February 2016, the American Civil Liberties Union of San Diego and more
12                      than two dozen other local organizations called on the Department of Justice
13                      to investigate the San Diego Police Department's use of force when
14                      encountering people with mental illness in volatile situations, compiling a list
15                      of "disturbing incidents that suggest the San Diego Police Department's
16                      pattern and practice of improperly handling incidents with people with
17                      mental illness or who are experiencing a mental health crisis."
18                   b. In April 2019, Department officers beat, tased, and used a chokehold on an
19                      un-armed mentally ill man, Douglas Pashuta, who did not immediately
20                      comply with an officer's order to leave a hotel lobby.
21                   c. In October 2020, a Department officer shot and killed a young Mexican man,
22                      Jose Alfredo Castro Gutierrez, who was experiencing an obvious mental
23                      health crisis when he ran toward officers with a small curtain rod.
24                   d. In February 2021, a Department officer shot 69-year-old Stephen Wilson, an
25                      individual with obvious mental health issues, while he was holding food with
26                      one hand and attempting to drop a kitchen knife he had in his back pocket
27                      with the other hand.
28                   e. In May 2021, Department officers tackled and beat Jesse Evans, an individual
                                                         9
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 1                  with mental health issues, when he did not immediately comply with the
 2                  officers' order to stop and talk to the officers after allegedly urinating in
 3                  public.
 4           43.    As a direct and foreseeable result of Defendants' actions and omissions,
 5    Plaintiff suffered general and special damages, including medical expenses, physical pain,
 6    mental suffering, loss of enjoyment of life, disfigurement, physical impairment,
 7    inconvenience, grief, anxiety, humiliation, and emotional distress.
 8                                                  V.
 9                                      CAUSES OF ACTION
10                                   FIRST CAUSE OF ACTION
11                                42 U.S.C. § 1983 - Excessive Force
12                          (Against Stewart, Ruiz, Mullins, Luth, Turner)
13           44.    The foregoing paragraphs are incorporated herein by this reference.
14           45.    In using force against Plaintiff on May 23, 2022, Defendants each acted under
15    color of state law.
16           46.    The force Defendants deployed against Plaintiff-including chemical
17    inundation, gunshot wounds, and a canine bite-was excessive and unreasonable under
18    the circumstances and, therefore, a violation of Plaintiffs Fourth Amendment right to be
19    free from unreasonable seizures.
20           47.    Defendants were each an integral participant in the excessive force used
21    against Plaintiff.
22           48.    Defendant Stewart was, moreover, an on-scene supervisor who was
23    personally involved in, and approved, the use-of-force decisions made by his subordinates
24    (namely, Defendants Ruiz, Mullins, Luth, and Turner).
25           49.    As a direct and foreseeable result of the excessive force used against Plaintiff,
26    Plaintiff suffered general and special damages, including medical expenses, physical pain,
27    mental suffering, loss of enjoyment of life, disfigurement, physical impairment,
28    inconvenience, grief, anxiety, humiliation, and emotional distress. Plaintiff thus seeks
                                                     10
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 1    monetary damages to compensate for these injuries, in an amount to be determined at trial.
 2          50.    Further, because Defendants recklessly disregarded Plaintiffs Fourth
 3    Amendment rights, Plaintiff seeks punitive damages against these defendants m an
 4    amount that will both punish their conduct and deter such conduct in the future.
 5                                SECOND CAUSE OF ACTION
 6                                    42 U.S.C. § 1983 -Monell
 7                                           (Against City)
 8          51.    The foregoing paragraphs are incorporated by this reference.
 9          52.    The City is liable for this deprivation of Plaintiffs Fourth Amendment rights
10    pursuant to the Supreme Court's holding in Monell v. Department of Social Services of
11    the City of New York, 436 U.S. 658 (1978), and its progeny, which provide that a local
12    governing body may be held liable for violations of constitutional rights committed by the
13    entity's employees if the violations arose from, among other things: (a) a settled practice
14    among the entity's employees and (b) deliberate indifference to training and supervision
15    needs of the entity's employees.
16          53.    The use of excessive force on Plaintiff resulted from a settled practice among
17    City and Department officers of using excessive force against individuals who are
18    vulnerable and mentally incapacitated (regardless of whether such incapacitation was
19    caused by illness and/or intoxication).
20          54.    The use of excessive force on Plaintiff resulted from the City's and the
21    Department's deliberate indifference to the training and supervision needs of officers
22    regarding appropriate and generally accepted law-enforcement procedures for handling
23    persons people experiencing an obvious mental health crisis.
24          55.    The City had actual and constructive knowledge that SDPD officers
25    frequently interact with mentally ill individuals and that such interactions require
26    specialized training, supervision, and resources. The City and the Department failed to
27    provide such training, supervision, and resources to officers leading up to this incident,
28    and that failure amounted to deliberate indifference. The incident giving rise to this action,
                                                    11
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 1    and the unfortunate events that led to it, are a highly predictable consequence of this
 2    deliberate indifference.
 3              56.     The settled practice of officers usmg excessive force against mentally
 4    incapacitated individuals, and the City's and Department's deliberate indifference to
 5    officers' training and supervision needs, were each moving forces behind the violation of
 6    Plaintiffs constitutional rights.
 7                                                     VI.
 8                                           PRAYER FOR RELIEF
 9              57.     Pursuant to the foregoing causes of action, Plaintiff prays for the following
10    relief:
11                a. on all causes of action, that judgment be rendered in favor of Plaintiff and
12                     against Defendants;
13                b. on all causes of action, that compensatory damages (including economic and
14                     noneconomic damages) be awarded in amounts to be determined at trial;
15                c. on the First Cause of Action, that punitive damages be awarded against the
16                     individual defendants in an amount sufficient to punish these defendants and
17                     deter such conduct in the future;
18                d. reasonable attorneys' fees , expenses, and costs of suit pursuant to 42 U.S.C. §
19                     1988 and any other relevant rule, statute, or case law; and
20                e. any and all other relief in law or equity to which Plaintiff may be entitled and
21                     which this Court deems just and proper.
22                                                     VII.
23                                      DEMAND FOR JURY TRIAL
24              5 8.    Plaintiff hereby demands a trial by jury of all issues and causes of action
25    arising under law or that are otherwise triable by a jury.
26

27    Dated: September 30, 2022                                  s/Trenton G. Lamere
28                                                               Attorney for Plaintiff
                                                           12
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